  Case 18-32371       Doc 19   Filed 05/17/19 Entered 05/20/19 08:38:42               Desc Main
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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                      Eastern Division

In Re:                                        )               BK No.:      18-32371
                                              )
CARINA WEGRZYN,                               )               Chapter: 7
                                              )
                                                              Honorable Pamela S. Hollis
                                              )
                                              )               Joliet
               Debtor(s)                      )

                      ORDER APPROVING EMPLOYMENT OF COUNSEL

        THIS MATTER COMING ON TO BE HEARD upon TRUSTEE'S MOTION TO EMPLOY
COUNSEL (the "Motion"), due and proper notice having been given to all parties entitled to receive
notice, the Court having jurisdiction over this core proceeding, and the Court being fully advised in the
premises,

     IT IS HEREBY ORDERED:

     1. The Motion is granted; Trustee is hereby authorized to employ Zane L. Zielinski and the Law
Office of Zane Zielinski P.C., retroactive to April 29, 2019, to serve as his legal counsel on a general
retainer with fees subject to further Order of Court.




                                                           Enter:


                                                                    Honorable Pamela S. Hollis
Dated: May 17, 2019                                                 United States Bankruptcy Judge

 Prepared by:
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